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UNITED STATES DISTRICT COURT
DISTRICT OF OREGON
PORTLAND DIVISION

INDEX NEWSPAPERS LLC, a Washington
limited-liability company, dba PORTLAND

MERCURY; DOUG BROWN; BRIAN 3:20-cv-1035-SI
CONLEY; SAM GEHRKE; MATHIEU
LEWIS-ROLLAND; KAT MAHONEY; STIPULATED PROTECTIVE ORDER

SERGIO OLMOS; JOHN RUDOFF;
ALEX MILAN TRACY; TUCK
WOODSTOCK; JUSTIN YAU; and those
similarly situated,

Plaintiffs,
Vv.

CITY OF PORTLAND, a municipal
corporation; JOHN DOES 1-60, officers of
Portland Police Bureau and other agencies
working in concert; U.S. DEPARTMENT OF
HOMELAND SECURITY; and U.S.
MARSHALS SERVICE,

Defendants.

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Pursuant to Fed. R. Civ. P. 26(c)(1) and (2), it is hereby stipulated and agreed by and
between the respective parties hereto by their counsel of record the following:

l. Any video or digital recording of the deposition of any Plaintiff or Defendant, or
any officer, agent, employee or former employee of Defendant City of Portland, shall be used
only for purposes of this litigation.

Z No person shall disseminate the video or digital recording of a deposition to
anyone not listed as an attorney of record, their legal assistants and support staff, or experts
retained in this litigation. However, the parties agree that named Plaintiffs and named
Defendants and deponents may view the video or digital recordings of depositions.

3. To the extent a video or digital recording of a deposition includes material
designated for protection under the terms of the stipulated protective order previously entered in
this matter (Dkt. 180) or any other similar order, such recording or portion thereof shall be filed
under seal if used prior to trial. Such recordings need not be filed under seal if they do not
contain material designated for protection under the terms of the stipulated protective order (DKt.
180). The use of any video or digital recording of a deposition at or after trial shall be subject to
further order of the court, but the party seeking to limit public access at trial shall bear the burden
of justifying such limitation.

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4, This Stipulated Protective Order shall remain in effect until agreed otherwise by
written stipulation signed by counsel for the parties hereto and filed herein, or until modified or

terminated by order of this Court upon good cause being shown.

IT IS SO STIPULATED:

/s/Athul_ K. Acharya Dated: September 23, 2020
Matthew Borden | J. Noah Hagey

Athul K. Acharya | Gunnar K. Martz

Attorneys for Plaintiffs

/s/ Naomi Sheffield Dated: September 23, 2020
Denis Vannier | Naomi Sheffield

Ryan C. Bailey | YoungWoo Joh
Attorneys for Defendant City of Portland

THIS STIPULATED PROTECTIVE ORDER IS HEREBY APPROVED.

DATED: September 2 2020.

VAM Mae.

Hon. Michael 1H. Simon

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